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                          UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                         OCALA DIVISION

  EMERSON BROWN and
  MARGIE ANN BROWN,

                               Plaintiffs,

  -vs-                                               Case No. 5:16-cv-113-Oc-34PRL

  SANTANDER CONSUMER USA, INC.,

                        Defendant.
  ______________________________________

                                             ORDER

         THIS CAUSE is before the Court on the Joint Stipulation to Arbitrate (Dkt. No. 5;

  Stipulation) filed on March 21, 2016. In the Stipulation, the parties advise the Court that they

  have agreed to submit this matter to final, binding arbitration and dismiss the case at this

  time. See Motion at 1. Accordingly, it is hereby

         ORDERED:

         1.      Plaintiffs shall submit their claims to final, binding arbitration as provided for

  in the governing Arbitration Agreement.

         2.     This case is DISMISSED.

         3.     Each party shall bear its own fees and costs.
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         4.     The Clerk of the Court is DIRECTED to terminate any pending motions or

  deadlines and close the file.

         DONE AND ORDERED in Chambers, this 23rd day of March, 2016.




  ja

  Copies to:

  Counsel of Record




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